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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
 - - - - - - - - - - - - - - -                X
                                              :
  UNITED STATES OF AMERICA                    :
                                              :     ORDER
                 - v. -                       :
                                              :     20 CR 432 (JMF)
  YAUREL CENTENO,                             :
                                              :
                        Defendant.            :
                                              :
  - - - - - - - - - - - - -             - - X
       Upon the application             of the parties, it is hereby

         ORDERED that the conference scheduled for October 26, 2020 is

               November 30
 adjourned to ________________,          2:30 p.m.
                                2020 at ________________; and

         FURTHER ORDERED that time is excluded under the Speedy Trial

                        November 30
 Act between today and ________________, 2020; the Court finds that

 the ends of justice served by excluding such time outweighs the

 interests of the defendant and the public in a speedy trial because

 of the interests of the defendant in considering the possibility

 of a pre-trial disposition amidst the circumstances of the ongoing

 national emergency declared over the coronavirus pandemic.

         SO ORDERED

 Dated:         New York, New York
                        16
                October ___, 2020
                                              ___________________________________
The Clerk of Court is directed to terminate   THE HONORABLE JESSE M. FURMAN
Doc. #10.                                     UNITED STATES DISTRICT JUDGE
                                              SOUTHERN DISTRICT OF NEW YORK
